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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

  CHRISTOPHER E. DORWORTH,
         Plaintiff,
  v.
  JOEL MICAH GREENBERG, ANDREW W.                      Case No.: 6:23-CV-00871
  GREENBERG, SUE GREENBERG, ABBY
  GREENBERG, AWG, INC., GREENBERG
  DENTAL ASSOCIATES, LLC, GREENBERG
  DENTAL & ORTHODONTICS, P.A.,
  GREENBERG DENTAL SPECIALTY GROUP,
  LLC, and A.B.,
         Defendants.




       MOTION TO SUBSTITUTE APPENDIX AND DELETE PREVIOUSLY FILED
                               APPENDIX
        Plaintiff Dorworth has been advised by opposing counsel that the Appendix (Doc. 100-1)

 filed with the Response to the Greenbergs’ Motion to Dismiss (Doc. 100) contains internal

 metadata that remained in the document when it was processed from Word into PDF for filing.

 These were internal annotations by undersigned counsel on the document. The undersigned did

 not realize that the document still contained comments or that they remained after the document

 was converted to PDF. Accordingly, Plaintiff Dorworth requests that the Court delete Doc. 100-1

 from the docket, not consider it in connection with the Motion, and instead accept the Substitute

 Appendix attached herewith as the Appendix to Doc. 100. See e.g. Wyndham v. Slattery Sobel &

 DeCamp, LLP, 19-cv-1908, slip op. Doc. 210 at *9 (M.D. Fla. October 2, 2020) (removing

 privileged documents from the docket). Opposing counsel brought this matter to the undersigned’s
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 attention, informs Plaintiff that he has deleted the previously filed appendix, and has no opposition

 to the relief requested.

 September 27, 2023.                                   Respectfully Submitted,

                                                       /s/Michael Paul Beltran
                                                       Michael P Beltran
                                                       Fla. Bar No. 0093184
                                                       Beltran Litigation, P.A.
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                                                       Tampa, FL 33607
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                                                       mike@beltranlitigation.com
                                                       Counsel for Plaintiff Dorworth

                                  CERTIFICATE OF SERVICE

        I will file a copy of the foregoing on the Court’s electronic system, which will send a
 copy to all counsel of record.
                                                      /s/Michael Paul Beltran
                                                      Michael P Beltran
